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    15
                           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    16                                               )
          JENNY LISETTE FLORES, et al.,         )    Case CV 85-4544 DMG-AGRx
    17
                                                )
    18                  Plaintiffs,             )    EXHIBITS IN SUPPORT OF
                                                )    PLAINTIFFS’MOTION TO
    19           - vs -                         )    ENFORCE THE SETTLEMENT
    20                                          )    AGREEMENT[REDACTED
          WILLIAM BARR, ATTORNEY                )     VERSION OF DOCUMENT
    21    GENERAL                               )    PROPOSED TO BE FILED
           OF THE UNITED STATES, et al.,        )    UNDER SEAL] VOL. 5 OF 5
    22
                                                )
    23                  Defendants.             ) [HON. DOLLY M. GEE]
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    28   PLAINTIFFS’ MOTION TO ENFORCE CV 85-4544-DMG(AGRX)
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    28   PLAINTIFFS’ MOTION TO ENFORCE CV 85-4544-DMG(AGRX)
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1                                 CERTIFICATE OF SERVICE
2

3          I, Peter Schey, declare and say as follows:
4          I am over the age of eighteen years of age and am a party to this action. I am
5
     employed in the County of Los Angeles, State of California. My business address is
6

7    256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.

8          On this date, May 31, 2019, I electronically filed the following document(s):
9
        • EXHIBITS IN SUPPORT OF PLAINTIFFS’ MOTION TO ENFORCE THE
10        SETTLEMENT AGREEMENT [REDACTED VERSION OF DOCUMENTS
          PROPOSED TO BE FILED UNDER SEAL] VOL. 5 OF 5
11

12   with the United States District Court, Central District of California by using the
13
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
     served by the CM/ECF system.
15

16

17

18
                                                                /s/Peter Schey
                                                                Attorney for Plaintiffs
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